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  May 14, 2024

  VIA E-Mail

  Hon. Freda L. Wolfson, U.S.D.J. (ret.)
  Lowenstein Sandler LLP
  One Lowenstein Drive
  Roseland, New Jersey 07068

                  Re:     Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC
                          No. 2:22-cv-02632 (JKS) (CLW)

  Dear Judge Wolfson:

          On behalf of Defendant Save On SP, LLC (“SaveOn”), we write in reply to Plaintiff John-

  son & Johnson Health Care Systems, Inc.’s (with its affiliates, “J&J”) opposition to SaveOn’s

  motion to compel J&J to produce responsive documents in the possession of its vendor TrialCard,

  Inc. (“TrialCard”), related to work performed by TrialCard for J&J.

          J&J’s opposition confirms that Your Honor should grant SaveOn’s motion.

          First, SaveOn showed that J&J’s Master Services Agreement (“MSA”) gives it legal con-

  trol over TrialCard’s documents relating to TrialCard’s work for J&J. J&J barely addresses the

  text of the MSA, and most of its arguments go to its practical ability to access the documents, not

  its legal control of those materials.
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         Second, SaveOn showed that J&J has the practical ability to obtain TrialCard’s documents,

  as it has done multiple times in this litigation for its own advantage. J&J asks Your Honor to not

  apply the “practical ability” test, but that test is an independent basis to determine control, and J&J

  does not seriously dispute the facts showing that it has practical control here.

         Third, J&J has no substantive basis to resist production of the documents that SaveOn seeks

  in TrialCard’s possession: (1) documents from the “refresh” period of July 1, 2022 to November

  7, 2023 of the sort that J&J already agreed to produce from the earlier discovery period; and (2)

  additional documents regarding TrialCard’s involvement in the CAP Program, of the sort that

  Judge Waldor and Your Honor already compelled J&J to produce. These documents are plainly

  relevant and J&J does not show that producing them would be unduly burdensome to J&J.

         Finally, if Your Honor determines that J&J does not control TrialCard’s documents,

  SaveOn showed why Your Honor should require Patterson Belknap Webb & Tyler LLP (“Patter-

  son”) to impose an ethical wall between its attorneys representing J&J and those representing

  TrialCard. J&J’s main objection is that SaveOn does not show that Patterson should be disquali-

  fied, but SaveOn does not seek that relief—only an ethical wall to prevent future violations of the

  Discovery Confidentiality Order (“DCO”).

                                               Argument

  I.     J&J Controls TrialCard’s Documents Regarding TrialCard’s Work for J&J

         A party must produce relevant documents within its “possession, custody, or control.” Fed.

  R. Civ. P. 34(a). Control is construed “very broadly” under the federal rules, Haskins v. First Am.

  Title Ins. Co., 2012 WL 5183908, at *1 (D.N.J. Oct. 18, 2012); a party has control over documents

  if it has (1) “the legal right” to the documents, or (2) the “ability to obtain the documents from

  another source upon demand.” Mercy Catholic Med. Ctr. v. Thompson, 380 F.3d 142, 160 (3d Cir.

  2004). Under either test, J&J has control over TrialCard’s documents relating to its work for J&J.

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          A.      J&J Has a Legal Right to TrialCard’s Documents

          J&J has control under Rule 34(a) of TrialCard’s documents related to its work for J&J

  under the “legal right” test because “a contractual obligation requires a non-party [TrialCard] to

  provide requested documents to the litigating party [J&J] upon demand.” Haskins, 2012 WL

  5183908, at *1; see also Moretti v. Hertz Corp., 2018 WL 4693473, at *2 (D. Del. Sept. 30, 2018)

  (“A contractual right to obtain documents in the possession of a third party can constitute control

  for Rule 34 purposes.”) (collecting cases).

          The MSA, under which TrialCard performs its work for J&J, gives J&J



                                   MSA § 17.1. Those documents include




                                                                        Id. The MSA also requires Trial-

  Card



         Id. § 8.2. As J&J admits, it has “asked TrialCard to produce itself some subset of documents

  in this litigation.” Opp. 12.

          This easily gives J&J legal control over the documents at issue. Mot. 13-15. See Haskins,

  2012 WL 5183908 (finding contract “plainly” established litigant’s control over agent’s docu-

  ments where it required agent to maintain books and records, gave litigant the right to examine the

  books and records, and required agent to cooperate in litigation); Calhoun v. Invention Submission

  Corp., 2021 WL 640759, at *2 (W.D. Pa. Jan. 13, 2021) (“The Court concludes that based upon

  [litigant’s] right to examine the business records of any [non-party], [litigant] has, or had, sufficient

  control of any insurance policies in which it was named, and therefore must undertake efforts to

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  obtain copies…”); Hertz Corp., 2018 WL 4693473, at *3 (contractual provisions granting litigant

  “the right ‘to inspect’ and ‘to examine’ [third party’s] ‘records’ and ‘any-other information re-

  quired by [litigant] with respect to the’ business [third party] engages in with [defendant]” suffi-

  cient to establish control).

          In its opposition, J&J fails to show that the plain language of the MSA does not give it

  legal control over the requested documents.

          First, J&J asserts that the MSA gives it the right to




                                                       Opp. 10 (citing MSA § 17.1). The MSA does

  much more than that.



                                                                        MSA § 17.1—effectively all

  documents relating to that work. The MSA also does not limit J&J to reviewing “whether Trial-

  Card is performing under the agreement,” Opp. 10—it

                                                                              MSA § 17.1; cf. Hertz

  Corp., 2018 WL 4693473, at *3 (rejecting plaintiff’s argument that its access was limited to audit

  purposes because contract did not specify that its right to obtain documents was limited to any

  “particular purpose[] set forth in the agreements”). The MSA additionally requires TrialCard



                                                         MSA § 8.2; see also id. § 17.2. This estab-




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  lishes J&J’s legal control. See Haskins, 2012 WL 5183908, at *4 n.4 (D.N.J. Oct. 18, 2012) (con-

  tractual agreements to cooperate in litigation “further demonstrate” control because non-parties

  must comply with requests to share documents.)

          Second, J&J asserts that SaveOn fails to show “that JJHCS ordinarily requests internal

  TrialCard communications in the normal course of business.” Opp. 12. Even were this true (it is

  not, see Part I.B), it would go only to J&J’s practical ability to access the documents, not to its

  legal right to do so. The “legal right” test is separate from the “practical ability” test and provides

  an independent and sufficient basis for Your Honor to find control. See Mercy Catholic Med. Ctr.,

  380 F.3d at 160 (“In the context of Fed. R. Civ. P. 34(a), so long as the party has the legal right or

  ability to obtain the documents from another source upon demand, that party is deemed to have

  control” (emphasis added)); Invention Submission Corp., 2021 WL 640759, at *2 (“documents are

  considered to be under a party’s control when that party has the right, authority, or practical ability

  to obtain the documents from a non-party in the action.” (emphasis added)). The legal right test

  thus does not look at the “normal course of business,” Opp. 12, so J&J’s argument on this point is

  irrelevant. 1




  1
    J&J’s assertion that the MSA
            Opp. 3, 13 n.7, is beside the point, as “[t]he rights” SaveOn asks “the Court [to] order[]
  [J&J] to exercise arise from contract, not from any purportedly broader princip[al]-agent relation-
  ship.” Hertz Corp., 2018 WL 4693473, at *4 (citing McKesson Corp. v. Islamic Republic of Iran,
  185 F.R.D. 70, 78 (D.D.C. 1999) (“[W]hile the control required for Rule 34 purposes may be
  established by virtue of a principal-agent relationship, a Rule 34 request only requires a showing
  of control, not proof of a principal-agent relationship.”)). To the extent Your Honor looks to the
  language of the contract, under New York law                                         such “labels are
  not dispositive, rather the facts and circumstances of the parties’ relationship determines whether
  an agent-principal relationship existed.” N. Shipping Funds I, LLC v. Icon Cap. Corp., 921 F. Supp.
  2d 94, 103 (S.D.N.Y. 2013). The MSA also                                                      and so
  lacks the “express and unambiguous” language that New York courts generally credit to disclaim
  agency. See Supreme Showroom, Inc. v. Branded Apparel Grp. LLC, No. 16 CIV. 5211 (PAE),


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         Third, J&J asserts that HIPAA and the MSA prevent it from

                                                                          . Opp. 12. Even if true (and

  it is not), this would not affect whether J&J has control over such information; J&J could still

  direct TrialCard to produce that information to SaveOn and restrict PHI access to the parties’ out-

  side litigation counsel—as J&J admits that it already has, id., directing TrialCard to produce the

  results of various benefits investigations and transaction-level data to SaveOn. See generally An-

  drews v. Holloway, 256 F.R.D. 136, 145 n.13 (D.N.J. 2009) (where documents are “in the posses-

  sion of others (such as a financial institution, attorney, business associate, spouse …), [defendant]

  has the obligation to … authorize Plaintiffs to obtain the documents from such source”).

         J&J’s assertion is incorrect in any event. J&J fails to explain how HIPPA might bar its

  vendor from sharing information with J&J that the vendor obtained on J&J’s behalf. While the

  MSA states that

                              MSA § 5.3.2—and                                                         ,

  id.§ 5.3.3

                                                                                          ); id. § 17.1



                                                                                                  ). In




  2018 WL 3148357, at *9 (S.D.N.Y. June 27, 2018) (collecting cases). Calling TrialCard an “inde-
  pendent contractor” does not disclaim agency, as independent contractors can also be agents. See
  CBS Inc. v. Stokeley-Van Camp, Inc., 522 F.2d 369, 375 n.14 (2d Cir. 1975) (“[I]t is only collo-
  quially that the terms independent contractor and agent are necessarily distinct.”).

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  fact, discovery shows that TrialCard shared PHI with J&J for approximately 15,000 Stelara pa-

  tients and approximately 8,000 Tremfya patients. Ex. 56 (JJHCS_00152367). 2 And, of course, any

  self-imposed limit on J&J’s ability to view PHI would not affect its control of documents without

  PHI.

         Fourth, only one of J&J’s cited cases even applied the legal control test, Inline Connection

  Corp. v. AOL Time Warner Inc., 2006 WL 2864586 (D. Del. Oc. 5, 2006) (cited Opp. 10, 13 n.7,

  14), and it is easily distinguishable. Opp. 10-12. The contract in Inline required a non-party to

  provide information only “where feasible” and did not require it to cooperate with the requesting

  party in litigation, Inline Connection Corp., 2006 WL 2864586, at *4; the MSA here, in contrast,



                                                                                           3
                                                                                               In addition,

  in Inline the non-party—defendants’ competitor—had previously refused to provide information

  defendants requested; there is no concern here that TrialCard—J&J’s vendor—would not provide

  information to J&J or produce it at J&J’s direction. Inline, 2006 WL 2864586, at *4. J&J’s other




  2
    This spreadsheet was produced natively; PHI is accessible in links in that spreadsheet. Ex. 56
  includes a PDF of the original spreadsheet and an excerpt of a linked spreadsheets containing PHI.
  SaveOn can provide the native file at Your Honor’s request.
  3
    J&J quotes Inline for the proposition that a contract that authorizes a party to access a non-party’s
  information, “without more, is insufficient to establish legal control in the Third Circuit.” Opp. 10
  (citing Inline, 2006 WL 2864586 at *4). That assertion was dicta, as there was no such right of
  access in the contract at issue there. Inline, 2006 WL 2864586 at *3 (“[A] right of access … is
  irrelevant to the determination of whether [defendants] presently have or had legal control of the
  … information because there is no evidence that such a contractual provision exists”).

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  cited cases, Opp. 11, do not apply the legal control test or examine contractual language, and so

  are irrelevant. 4

          Finally, J&J asserts that SaveOn refused to confer with it about “about any specific subset

  of documents” which “makes it impossible” to determine if the MSA gives J&J control over “some

  more limited subset of documents.” Opp. 13-14. In reality, SaveOn negotiated with TrialCard for

  months over the documents at issue and TrialCard refused to produce them. See, e.g., Ex. 57

  (Dec. 6, 2023 Letter) (TrialCard refusing to refresh its document productions through November

  7, 2023); Ex. 58 (Dec. 22, 2023 Letter) (TrialCard refusing to add custodians). J&J’s counsel—

  the same counsel representing TrialCard in those negotiations—knows exactly what those docu-

  ments are. SaveOn asked J&J if it had control over those documents, Ex. 53, and J&J denied that

  it controlled them all, Ex. 5. If J&J believed that it controlled a subset of the documents, J&J should

  have identified them during the month it took to reply, but it did not. The parties are squarely at

  impasse on whether J&J has legal control over TrialCard’s documents related to TrialCard’s work

  for J&J—and it does.

          B.          J&J Has the Practical Ability to Obtain the Requested Documents

          The “practical ability” test provides an independent and sufficient basis under Rule 34(a)

  to find that J&J has control over TrialCard’s documents concerning its work for J&J because J&J

  has repeatedly shown that it can obtain such documents. “[A] company’s ability to demand and



  4
    See Princeton Digital Image Corp. v. Konami Dig. Ent. Inc., 316 F.R.D. 89, 92 (D. Del. 2016)
  (finding no practical control where plaintiff argued that defendant has been able to obtain docu-
  ments in the past); Maniscalco v. Brother Int’l Corp., 2010 WL 762194, at *11 (D.N.J. Mar. 5,
  2010) (finding no practical control where plaintiff had requested documents but there was “not
  one instance in which documents of the nature sought were ever supplied” by the defendant); Block
  v. Jaguar Land Rover N. Am., 2017 WL 11696617, at *1-2 (D.N.J. Aug. 23, 2017) (finding no
  practical control because “Plaintiffs have pointed to no evidence that [defendant] has control over
  the specific documents at issue, nor access to them in the ordinary course of business”).


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  have access to documents in the normal course of business gives rise to the presumption that such

  documents are in the litigating corporation’s control.” Camden Iron & Metal, Inc. v. Marubeni

  Am. Corp., 138 F.R.D. 438, 443 (D.N.J. 1991); see also 7 Moore’s Fed. Pr.—Civ. § 34.14 (2024)

  (“[C]ontrol by a party over the person or entity in possession of the documents is sufficient to

  require that the party produce the documents.”).

             This reason why is simple fairness: “Where the relationship is such that the agent-subsidi-

  ary can secure documents of the principal-parent to meet its own business needs and documents

  helpful for use in the litigation, the courts will not permit the agent-subsidiary to deny control for

  purposes of discovery by an opposing party.” Gerling Int’l Ins. v. Comm’r, 839 F.2d 131, 141 (3d

  Cir. 1988); see also Sanofi-Aventis v. Sandoz, Inc., 272 F.R.D. 391, 396 (D.N.J. 2011) (“Sandoz

  cannot use its foreign affiliation with Lek as both a sword and a shield. Sandoz has relied on Lek

  … [but] now attempts to block discovery of these very activities because it claims this information

  is not ‘reasonably available.’ … Sandoz cannot have it both ways. Common sense and traditional

  notions of justice demand that Sandoz is required to provide discovery about Lek in this litiga-

  tion.”).

             As SaveOn showed, J&J has strategically controlled production of TrialCard’s documents,

  readily establishing its practical ability to obtain them. J&J used this power defensively, for exam-

  ple by directing TrialCard to make productions that it argued satisfied J&J’s production obliga-

  tions. See, e.g., Mot. 6 (TrialCard “already agreed” to produce “through JJHCS” data that SaveOn

  sought from J&J); id. at 7 (J&J promised a forthcoming TrialCard production of Benefits Investi-

  gations to avoid its own production in response to SaveOn’s request). J&J has wielded this power

  offensively, for example by suggesting that TrialCard will produce approximately 1,500 call re-




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  cordings identified by SaveOn only if SaveOn produces to J&J approximately 30,000 call record-

  ings—which J&J termed an “equivalent production.” See Ex. 59 (Mar. 26, 2024 Letter); Ex. 60

  (Apr. 23, 2024 Letter); Ex. 61 (May 7, 2024 Letter). J&J has also used this power to circumvent

  the discovery process, obtaining documents from TrialCard that TrialCard did not provide to

  SaveOn that J&J then used to surprise a deponent in the litigation. See Mot. 9-10 (TrialCard pro-

  duced call recordings “at JJHCS’s request” only after J&J used them at a deposition of SaveOn’s

  witness). J&J clearly has “easy and customary access to [TrialCard’s] documents” and can use

  them “for its usual business needs,” which include “to provide highly relevant documents in this

  litigation.” Camden Iron, 138 F.R.D. at 443-44. J&J’s self-serving direction of TrialCard’s pro-

  ductions is precisely the gamesmanship that the practical ability test exists to remedy.

         J&J’s arguments to the contrary are unavailing.

         First, J&J asserts that the Third Circuit does not recognize the practical ability test, citing

  two non-binding cases from the District of Delaware 5 and one secondary source. 6 Opp. 14. In re-

  ality, the Third Circuit recognizes that test, see Mercy Cath. Med. Ctr. v. Thompson, 380 F.3d 142,




  5
    J&J’s cases are also distinguishable. Power Integrations, Inc. v. Fairchild Semiconductor Int’l,
  Inc., 233 F.R.D. 143, 145 (D. Del. 2005) noted that “parent corporations have been required to
  produce documents held by their subsidiaries” but that “the converse is not true. A subsidiary, by
  definition, does not control its parent corporation.” Id. But the court did not apply the “practical
  ability” test under Rule 34(a): the case dealt with a plaintiff trying to force a non-party to gather
  documents from its parent company, and the court held that Rule 34(a) did not deal with control
  between two non-parties. Id. Inline Connections, in turn, relied on Power Integrations. See Inline
  Connections Corp. v. AOL Time Warner Inc., 2006 WL 2864586, at *2 (D. Del. Oct. 5, 2006)
  (“More importantly, Inline’s assertion that the law of the Third Circuit does not reject the Second
  Circuit’s ‘practical ability’ approach is clearly contradicted by Power Integrations, Inc.”).
  6
   The secondary source J&J cites, Commentary on Rule 34 and Rule 45 “Possession, Custody, or
  Control,” 25 Sedona Conf. J. 1, 28 (2024), affirmatively recognized that some courts in the Third
  Circuit apply the practical ability test, citing Barton v. RCI, LLC, 2013 WL 1338235, at *6 (D.N.J.
  Apr. 1, 2013) (noting “[i]f the producing party has the legal right or practical ability to obtain the


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  160 (3d Cir. 2004) (“In the context of Fed.R.Civ.P. 34(a), so long as the party has the legal right

  or ability to obtain the documents from another source upon demand, that party is deemed to have

  control”), and the District of New Jersey regularly applies it, see Camden Iron, 138 F.R.D. at 443

  (“Control is defined as the legal right, authority or ability to obtain documents upon demand.”);

  see also Sanofi-Aventis, 272 F.R.D. at 395 (“Direct, legal control over the related entity is not

  required… The availability of information in the possession of a related company turns on the facts

  of each case, in particular as they relate [to] the ‘control’ standard of Rule 34(a).”). J&J’s cases

  show, at most, that the District of Delaware interpreted Gerling, 839 F.2d 131, more restrictively

  than did the District of New Jersey. Compare Power Integrations, 233 F.R.D. at 145 (interpreting

  Gerling to say “the separate and distinct corporate identities of a parent and its subsidiary are not

  readily disregarded, except in rare circumstances”) with Camden Iron, 138 F.R.D. at 441-42 (in-

  terpreting Gerling to provide five grounds to establish control, including “access to documents

  when the need arises in the ordinary course of business”). 7

         Second, J&J asserts that courts fail to find practical control where the party and non-party

  are not corporate affiliates and that TrialCard is an “independent company.” Opp. 3, 15. But courts

  look to whether the relationship between the parties is “akin to a case where an entity has been

  found to have control over the records of its parent, subsidiary, or sister corporation.” In re Novo

  Nordisk Sec. Litig., 530 F. Supp. 3d 495, 502-03 (D.N.J. 2021) (emphasis added). And the facts




  documents, then it is deemed to have ‘control’ … even if the documents are actually in the pos-
  session of a non-party” (emphasis added)).
  7
    Even were this relevant, it is no longer accurate. The District of Delaware has expanded its use
  of the practical ability test in the past twenty years. See Moretti v. Hertz Corp., 2018 WL 4693473
  at *5 (D. Del. Sept. 30, 2018) (finding “some support in this District” that courts can inquire into
  a party’s practical ability to obtain documents to determine control).


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  show that TrialCard is anything but “independent” of J&J. Among other things: (1)

                                                     , MSA § 1.8; (2)

                                                                        , id. § 1.9; (3)

                          , id. § 5.3.1; (4)



         ; Ex. 62 at -992 (JJHCS_00073990); (5)                                                      ,

  Ex. 63 (JJHCS_00112408) (

                 ); (6)                                                                              ,

  Ex. 64 § 1.d (JJHCS_00045387); (7) J&J regularly “facilitates” or directs TrialCard to produce

  documents in this litigation, Mot. 15-16; and (8) J&J asserts that TrialCard’s employees are the

  “functional equivalent” of J&J’s employees, Ex. 31 at 4. This is more than enough to establish

  J&J’s practical ability to obtain the relevant documents from TrialCard. See Sanofi-Aventis, 272

  F.R.D. at 395 (finding “evidence of an even closer relationship” than “corporate sisters” sufficient

  to find control where non-party’s “website projects itself to the general public as a ‘Sandoz’ com-

  pany” and the “corporate logo of Sandoz is prominently displayed in several locations throughout

  its homepage”).

         Third, J&J asserts that SaveOn “identifies no types of documents suppressed by TrialCard

  at JJHCS’s behest or based on their content.” Opp. 16. SaveOn does identify them: TrialCard

  refuses to produce the documents at issue here and there is ample evidence that TrialCard generally

  produces or withholds documents at J&J’s behest. For example, TrialCard refused to produce Ben-

  efits Investigations, Ex. 65 (Sep. 29, 2023 Letter), until J&J announced at a discovery conference

  before Judge Waldor that, as an “additional concession” to avoid being ordered to produce CAP

  documents, it would “give [SaveOn] through a production from TrialCard, which is our vendor,



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  who we also represent and is subject to a subpoena, we’ll give them benefits investigations.” Oct.

  30, 2023 Hr’g Tr. at 62:7-13. 8 TrialCard similarly refused to produce recordings of calls between

  it and SaveOn until after it provided 16 recordings to J&J for J&J’s surprise use in a November

  10, 2023 deposition of SaveOn’s witness. See Ex 42 at 5 (confirming that TrialCard produced these

  16 call recordings on January 12, 2024 “at JJHCS’s request”). J&J also directed TrialCard to pro-

  duce patient claims data to fulfill J&J’s obligation to produce such data for relevant Janssen drug.

  See Ex. 44 at 24-25; Ex. 54 at 11-12 (promising J&J would produce such data); Ex. 24 at 17-19

  (stating TrialCard “has already agreed to produce through JJHCS” relevant claims data). This

  strong inference of control is bolstered by J&J’s contractual obligation to

                                        , see MSA § 17.2, as TrialCard has no financial incentive to

  withhold documents while J&J has both a financial and strategic incentive for it to do so.

         Fourth, J&J asserts that SaveOn “has long been on notice to (and has not objected to)

  TrialCard’s search parameters.” Opp. 16. Not so. After extensive negotiation, SaveOn and Trial-

  Card reached impasse regarding TrialCard’s custodians and the time frame of its production.

  Ex. 66 (Jan. 12, 2024 Letter); Ex. 6. J&J cites a July 19, 2023 letter from TrialCard identifying

  search terms that SaveOn purportedly did not object to, J&J Ex. 29, but it omits a July 26, 2023

  letter back from SaveOn in which SaveOn continued to object to TrialCard’s search terms, includ-

  ing by asking TrialCard to add four terms (“zero out-of-pocket,” “zero OOP,” “no OOP,” and “no




  8
    J&J’s assertion that TrialCard’s production of “over 4,800 benefits investigations” is evidence
  that TrialCard produces “documents without regard to whether those documents are helpful or
  harmful to JJHCS,” Opp. 16, is completely wrong. TrialCard refused to produce the benefits in-
  vestigations until J&J directed it to produce them, and only after J&J determined that doing so
  might help it argue against having to produce other documents as well.

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  out-of-pocket”) and to identify additional custodians, Ex. 67 (Jul. 26, 2023 Letter), which Trial-

  Card refused to do. See Ex. 26 at 2-3.

         Fifth, J&J mischaracterizes SaveOn’s position, saying that SaveOn argues “that Trial-

  Card’s purportedly ‘significant role’ in the subject matter in this litigation “independently” confers

  on JJHCS control over [TrialCard’s] documents.” Opp. 16 (citing Mot. 16). SaveOn did not say

  this. SaveOn said: “The overwhelming evidence that J&J can obtain documents from TrialCard,

  which plays a ‘significant role’ in the subject matter in this litigation, is an independently suffi-

  cient basis to conclude that J&J has possession, custody or control over TrialCard’s documents

  regarding TrialCard’s work for J&J.” Mot 16 (emphasis added). That is, SaveOn described Trial-

  Card as “play[ing] a significant role in the subject matter in this litigation”; the independent basis

  for Your Honor to grant SaveOn’s motion is “[t]he overwhelming evidence that J&J can obtain

  documents from TrialCard.”

         Finally, J&J says that “no authority” holds that its argument that TrialCard employees are

  the “functional equivalent” of J&J employees for purposes of privilege means that J&J has control

  of TrialCard’s documents. Opp. 17. But whether J&J can in fact control TrialCard’s employees is

  a factor in determining if it has the practical ability to obtain TrialCard’s documents. In Sanofi-

  Aventis, for example, the court found practical control based in part on the fact that “Sandoz lists

  several Lek witnesses as ‘Sandoz employee[s]’ in its privilege log” as evidence for a finding of

  control. 272 F.R.D. at 395; J&J has asserted that—as a matter of fact—TrialCard’s employees who

  work on J&J matters are the functional equivalent of J&J’s own employees and J&J has claimed

  privilege on that basis. This is strong additional evidence that J&J has practical control over Trial-

  Card’s documents concerning TrialCard’s work for J&J. See id. at 396 (“Sandoz asserts privilege

  over communications held with Lek scientists because they were held with ‘Sandoz employee[s].’



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  Yet it now argues that Lek is an entirely distinct legal entity for purposes of Rule 30(b)(6). Sandoz

  cannot have it both ways.”). J&J points to a provision in the MSA that states that



  Opp. 17 (quoting MSA § 12), but this says nothing about whether TrialCard’s employees will be

  the functional equivalent of J&J’s employees.

  II.    The Requested Documents are Relevant and Not Burdensome

         Once Your Honor determines that J&J controls TrialCard’s documents, she should then

  consider if the documents that SaveOn seeks are relevant and if J&J raises any valid objection of

  burden or proportionality. The documents are clearly relevant—they seek information on topics

  that the Court and/or Your Honor has already ruled are relevant—and J&J makes no serious argu-

  ments that production would be burdensome or disproportionate.

         A.      J&J Must Produce TrialCard’s Documents from the “Refresh” Time Period
                 of July 1, 2022 to November 7, 2023

         In response to SaveOn’s subpoena, TrialCard eventually agreed to produce five categories

  of documents: (1) documents and communications from four custodians; (2) some records of

  phone calls; (3) records of some Benefits Investigations; (4) patient letters; and (5) CarePath en-

  rollment and claims data. Opp. 5-6. Although TrialCard had agreed to produce documents to the

  same extent as J&J, Mot. 6, it now refuses to produce custodial documents through the Court-

  ordered “refresh” period of July 1, 2022 to November 7, 2023, J&J Ex. 35 at 2. TrialCard’s main

  objection is that the Court’s “refresh” order did not apply to non-parties, Ex. 68 at 1 (Mar. 22, 2024

  Letter), but this objection is moot if Your Honor determines that J&J controls the documents.

         J&J does not contest that these documents, of the same sort that TrialCard already pro-

  duced, are relevant. As J&J acknowledged, the four custodians from whom it agreed to produce

  documents are “TrialCard employees with key responsibilities for the administration of CarePath.”


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  Opp. 5. 9 There is no principled basis to cut off custodial productions from these important indi-

  viduals on July 1, 2022, especially when that date only captures a few months of the CAP Pro-

  gram—which went into effect in January 2022 and continues through the present. J&J also does

  not assert that production would be burdensome or disproportionate. J&J thus has no basis to with-

  hold these documents.

         B.      J&J Must Produce TrialCard’s Documents and Communications Related to
                 the CAP Program, Benefits Investigations, and Other Efforts to Identify Pa-
                 tients on SaveOn-Advised Plans

         The Court held that J&J’s CAP Program and Benefits Investigations into whether patients

  taking drugs at issue were on SaveOn-advised plans are relevant, see Apr. 10, 2024 Order at 2

  (CAP-related documents are “highly relevant”); Feb. 6, 2024 Order at 24-26 (quoting guidance

  from Judge Waldor’s Chambers and ordering search terms that “capture…CAP discussions”), and

  the Court and Your Honor have ordered J&J to produce documents on both topics, including or-

  dering it to add multiple sets of “CAP custodians” and to use search terms targeted at documents

  regarding the CAP Program, see Dkt. 173 at 2; April 10, 2024 Order at 1-3. J&J has no valid

  argument that TrialCard’s documents on these same topics are somehow not relevant.

         J&J asserts that TrialCard’s internal communications are irrelevant because “it is JJHCS’s

  directions—not [TrialCard’s] internal communications about those directions—that are germane




  9
   J&J claims that its four existing custodians are adequate because it “agreed to a custodian for
  every interrogatory for which JJHCS identified responsible TrialCard employees.” Opp. 5 n.2. But
  J&J identified
                 Ex. XX at 5-6 (Jan. 17, 2023 J&J R&Os to SaveOn’s First Interrogatories),

                           id. at 15, and

  id. at 16. SaveOn has reserved its rights to seek documents from additional TrialCard custodians.


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  to the claims here.” Opp. 18. As J&J previously argued to the Court, however, “[i]nternal commu-

  nications are a standard part of discovery—indeed, in many ways, they are the whole point of

  discovery.” Dkt. 65 at 16 (Jan. 5, 2023 Joint Letter). TrialCard’s internal communications here

  could reflect discussions between it and J&J not captured in written communications between

  them, and could help show how TrialCard implemented the CAP Program in practice. See Ex. 69

  at 3 (Mar. 8, 2024 Letter). 10

           J&J next asserts that additional TrialCard documents relating to the CAP Program are ir-

  relevant or unnecessary because J&J is producing “CAP-related discovery” from its own files.

  Opp. 18-19. But there is extensive evidence that TrialCard was deeply involved in creating and

  implementing the CAP Program, Mot. 4-5, which easily shows that TrialCard’s employees are

  likely to have relevant documents in addition to the documents of J&J’s employees. 11

           J&J also asserts that SaveOn does not need broad discovery into TrialCard’s patient-iden-

  tification efforts because



                                   Opp. 19-20 n.11 (emphasis added). But discovery is not limited to

  TrialCard’s




  10
       In its opening brief, SaveOn cited an email where TrialCard
                                               . Mot. 5. J&J
                                                                                              . Opp.
  18 n.9. In fact, SaveOn noted that TrialCard had not produced
                                     , Mot. 5; SaveOn said nothing about                           .
  11
    J&J asserts that TrialCard does not “independently craft[] strategies for [J&J] to respond to
  [SaveOn’s] misappropriation.” Opp. 3. In so doing, J&J appears to concede that TrialCard crafts
  such strategies along with J&J—as the documents that SaveOn cites confirm. Mot. at 3-4

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                             SaveOn is entitled to discover all methods that TrialCard used or con-

  sidered using in identifying such patients for J&J, as J&J’s failure to use reasonably available

  methods to identify those patients could show that J&J failed to mitigate its purported damages.

         J&J offers no valid burden argument. It asks Your Honor to account for “the existing bur-

  dens that TrialCard has already been forced to endure as part of third-party discovery.” Opp. 18;

  see also id. at 2 (arguing that “TrialCard should not be forced to endure undue burden”). But Your

  Honor will reach questions of burden in this motion only if Your Honor first finds that J&J controls

  TrialCard’s documents. In that case, the only relevant burden is the burden on J&J, as the party

  from which discovery is sought, not the burden on TrialCard. 12 J&J does not assert, let alone quan-

  tify, its burden in producing these documents. It is also not clear how J&J could do so, as Patterson

  (either as J&J’s counsel or as TrialCard’s counsel) has refused to identify additional TrialCard

  custodians or collect their documents. Ex. 70 at 1 (Mar. 8, 2024 Letter). J&J must produce these

  documents.

  III.   If J&J Does Not Control TrialCard’s Documents Concerning Its Work for J&J,
         Then Patterson Should Impose an Ethical Wall

         J&J’s lawyers at Patterson have access to SaveOn’s confidential information pursuant to

  the DCO in this case. Dkt. 62. Contrary to the terms of the DCO, those same lawyers used

  SaveOn’s confidential information on behalf of TrialCard to resist discovery by SaveOn. If Your

  Honor finds that J&J does not control TrialCard’s documents related to its work for J&J, Patterson




  12
     Even were TrialCard’s burden somehow relevant here, it is not clear that it has endured any
  meaningful burden to date. The MSA provides that
                          , MSA § 17.2, and both J&J and Patterson have refused to say that Trial-
  Card is paying its own fees and costs in this case, strongly indicating that J&J is paying. Ex. 33 at
  2 (Jun. 30, 2023 Ltr.).

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  should implement an ethical wall such that its lawyers representing J&J do not represent TrialCard.

  J&J’s arguments to the contrary are unavailing.

          First, J&J asserts, without citation, that “[c]ounsel routinely represents both parties and

  related third parties in commercial litigation.” Opp. 21. While it is common for a company’s coun-

  sel to represent the company’s former employees, it is unusual for them to represent the company’s

  vendors. In any event, when a lawyer represents a nonparty in litigation in which she also repre-

  sents a party, “there is a risk that a lawyer’s representation of one client might materially limit

  [their] ability to fulfill [their] responsibility to the other client.” Mid-State Aftermarket Body Parts,

  Inc. v. MQVP, Inc., 2009 WL 1211440, at *4 (E.D. Ark. May 4, 2009). For example, “[i]f a lawyer

  for a party interviews a witness, the lawyer is free to tell the client what the witness said, and he

  may even be obligated to do so, but if the lawyer represents the witness, the lawyer may be pro-

  hibited from telling anyone, including his client who is a party in the case, what the witness said.”

  Id.; see also Sapia v. Bd. of Educ. of City of Chicago, 351 F. Supp. 3d 1125, 1131 (N.D. Ill. 2019)

  (whether to prohibit simultaneous representation is “decided on facts,” though “[w]hether the prac-

  tice in any given case is wise is, however, another matter.”); Adkisson v. Jacobs Eng'g Grp., Inc.,

  2016 WL 6534273, at *5 (E.D. Tenn. Nov. 1, 2016) (simultaneous representation “is fraught with

  ethical peril” requiring counsel to take “precautions”); ChemFree Corp. v. J. Walter, Inc., 2008

  WL 5234252, at *5 (N.D. Ga. June 11, 2008) (counsel could have “avoided any appearance of

  unethical conduct” by “refer[ring] the [non-parties] to alternative counsel”). This case presents an

  even more intractable problem, as J&J is prohibited by the DCO from consenting to its lawyers

  using SaveOn’s confidential information on TrialCard’s behalf, as they did.




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         Second, J&J says that SaveOn does not show that Patterson should be disqualified.

  Opp. 21-22 & n.13. This is a strawman. SaveOn does not seek to disqualify Patterson from repre-

  senting J&J or TrialCard or both. SaveOn rather asks, in the alternative, that Patterson be required

  to “impose an ethical wall between the attorneys representing the entities, ensuring that no attorney

  representing TrialCard has (or had) access to SaveOn’s confidential information.” Mot. 18.

  SaveOn cited several cases in which courts required ethical walls, Mot. 18-19; while J&J notes

  that those cases did not order disqualification, Opp. 22 n.13, it has no answer to their imposition

  of ethical walls, the only relief that SaveOn seeks.

         Third, J&J asserts that there is no conflict between it and TrialCard, that Patterson has

  “obtained appropriate waivers” from TrialCard, and that Patterson thus is not “torn between its

  obligations to” its two clients. Opp. 21-23. This misses the point. SaveOn does not argue that there

  is a conflict between J&J and TrialCard; it argues that there is a conflict between Patterson’s obli-

  gations to its clients and its obligations to SaveOn—and the Court. Patterson’s obligation to zeal-

  ously represent TrialCard conflicts with its obligation under the DCO to not use SaveOn’s confi-

  dential information on behalf of any party other than J&J. J&J’s close coordination of legal strat-

  egy with TrialCard—to the point of waiving conflicts between them—increases the risk of contin-

  ued misuse. If J&J does not control TrialCard’s documents, the best cure is an ethical wall.

         J&J also says that Patterson did not violate the DCO. But J&J admits to all the material

  facts: Patterson learned SaveOn’s confidential information in Ayesha Zulqarnian’s deposition as

  J&J’s counsel and then used that information as TrialCard’s counsel in resisting production of

  documents in a meet-and-confer session with SaveOn. Opp. 23-24. This is a plain violation of the

  DCO, which restricts disclosure of designated confidential information to specifically listed per-

  sons and entities. J&J’s attempted excuses for this violation fail.



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         First, J&J asserts that Patterson had access to the information and was “permitted to dis-

  cuss” it with SaveOn’s counsel by the DCO. Opp. 24. This argument underscores why an ethical

  wall is necessary if J&J does not control TrialCard’s documents. Patterson had access to SaveOn’s

  confidential information and was permitted to discuss it with SaveOn only on behalf of J&J. J&J’s

  continuing failure to distinguish between Patterson’s roles as J&J’s counsel and as TrialCard’s

  counsel and J&J’s claim that Patterson was permitted to use SaveOn’s information in this way

  shows the continuing risk that Patterson might again use SaveOn’s confidential information on

  behalf of TrialCard. 13 J&J’s argument, if accepted, would also create a perverse incentive for par-

  ties to have their counsel represent non-parties and use the opposing party’s information on the

  non-parties’ behalf to resist producing documents.

         Second, J&J tries to retroactively justify Patterson’s conduct. It says that Patterson simply

  told SaveOn’s counsel that it needed SaveOn to provide phone numbers so that TrialCard could

  identify calls that it received from those numbers. Opp. 24. In fact, Patterson, as TrialCard’s coun-

  sel, said that Zulqarnain’s use of fake names prevented TrialCard from identifying records of calls

  that she, and potentially other SaveOn employees, made to TrialCard, Ex. 45 at 1—an assertion it

  could not have made without access to Zulqarnain’s deposition. J&J asserts that TrialCard had its

  own records of Zulqarnain registering for CarePath and of a caller using different names and affil-

  iations when calling from the same cell number. Opp. 24. But TrialCard did not know from its



  13
     Contrary to J&J’s claim, its counsel has only very recently requested SaveOn to “respect this
  separation.” Opp. 23 n. 14. Indeed, its first such request was in February 2024, as demonstrated
  by J&J’s citations. Id. Communications—both before and after February 2024—show that Patter-
  son has not respected these separate roles when helpful to J&J. See, e.g., June 27, 2023 Hr’g Tr.
  at 90:2-6 (J&J explaining, “we’ve made a document production from” TrialCard to resist discovery
  into non-JJHCS entities at J&J); Ex. 61 (May 7, 2024 Letter) (addressing SaveOn’s burden argu-
  ment associated with producing recorded calls by referencing SaveOn’s allegedly “equivalent”
  request to TrialCard).


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  own files that Zulqarnain used multiple names when calling CarePath to obtain information on

  terms and conditions; Patterson learned that information exclusively from her deposition, as it

  stated in the meet-and-confer sessions with SaveOn’s counsel. Ex. 45 at 1.

         Finally, J&J’s string of technical excuses for why Patterson did not violate the DCO fails.

  J&J says that Patterson did not share the deposition transcript with TrialCard (SaveOn did not

  allege that it did), Opp. 23—but Patterson used confidential information from the deposition on

  TrialCard’s behalf. J&J says that the information was “undisputed,” Opp. 24—but, disputed or

  not, the information was confidential, so Patterson could not use it on behalf of TrialCard. J&J says

  that Patterson did not “use” the information on TrialCard’s behalf, Opp. 24—but it did, citing that

  information as a basis to withhold documents. J&J says that Patterson’s “stray reference” to the

  information did not “amount to ‘use,’” Opp. 24 n.15—but citing information on a party’s behalf

  is “use” by any reasonable definition.

         The Special Master should grant SaveOn’s motion, recognizing that J&J has control over

  TrialCard’s documents regarding its work for J&J for purposes of Rule 34(a). In the alternative,

  Your Honor should direct Patterson to implement an ethical wall separating attorneys who repre-

  sent J&J from those who represent TrialCard.

                                            Respectfully submitted,


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              EXHIBIT 56
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  December 6, 2023                                                                       Sara Arrow
                                                                                         (212) 336-2031


  By Email

  Hannah Miles, Esq.
  Selendy Gay Elsberg, PLLC
  1290 Avenue of the Americas
  New York, NY 10104

                    Re:      Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC,
                             Case No. 2:22-cv-02632-ES-CLW

  Dear Hannah:

                  We write on behalf of TrialCard in response to your November 30 letter regarding
  the applicable time period for TrialCard’s document productions in response to the subpoena dated
  February 17, 2023.

                  You claim that, during a meet and confer on April 25, 2023, we “agreed that
  TrialCard’s productions would generally conform to the Court’s orders as to JJHCS, including
  adjusting the time period for TrialCard’s productions in line with JJHCS’s.” Suffice it to say, we
  disagree with your characterization of TrialCard’s assertions during the April 25 meet and confer.
  At no point during the meet and confer did TrialCard and SaveOnSP contemplate or discuss a
  complete update of all discovery responses through November 7, 2023, much less agree to
  undertake the same.

                 In any event, the Court’s November 7, 2023 Order does not impose obligations on
  TrialCard as a third party, nor are we aware of any other third party (including your business
  partners, Express Scripts Inc. or Accredo Health Group, Inc.) undertaking a comparable production
  update pursuant to that Order. As a result, we decline your invitation to update our discovery
  responses, including productions, through November 7, 2023.

                                                                      Very truly yours,



                                                                      /s/ Sara A. Arrow
                                                                      Sara A. Arrow




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  December 22, 2023                                                                      Sara Arrow
                                                                                         (212) 336-2031


  By Email

  Hannah Miles, Esq.
  Selendy Gay Elsberg PLLC
  1290 Avenue of the Americas
  New York, NY 10104

                    Re:      Johnson & Johnson Health Care Systems Inc. v. SaveOnSP, LLC,
                             Case No. 2:22-cv-02632-ES-CLW

  Dear Hannah:

                    We write on behalf of TrialCard in response to your December 8, 2023 letter.1

                   As you know, TrialCard maintains that custodial collections are disproportionate to
  its status as a non-party, burdensome, and unnecessary. See, e.g., July 6, 2023 Ltr. from K. Brisson
  to E. Holland; Aug. 3, 2023 Ltr. from K. Brisson to E. Holland. Despite this, and in the interest
  of compromise, TrialCard has undertaken such collections for four custodians: Holly Weischedel,
  Sini Abraham, Rick Fry, and Paul Esterline. These custodial collections are in addition to
  TrialCard’s extensive non-custodial productions. Yet SaveOnSP now again demands that
  TrialCard supplement its custodial productions, this time to include seven more document
  custodians. Of the seven, TrialCard has previously declined to add six of them. See Aug. 3, 2023
  Ltr. from K. Brisson to E. Holland.

                Jason Zemcik: SaveOnSP asserts that JJHCS “asked Zemcik for guidance” or
  otherwise communicated with him regarding TrialCard deliverables.
                                                                                         See,
  e.g.,   JJHCS_00026255;     JJHCS_00005528;        JJHCS_00008107;        JJHCS_00001745;
  JJHCS_00007308. Further, several of the documents SaveOnSP cites do not even mention JJHCS
  or    CarePath.       See,   e.g.,    TRIALCARD_00001804;         TRIALCARD_00001815;
  TRIALCARD_00001884;             TRIALCARD_00003340;               TRIALCARD_00001951;


  1
    SaveOnSP’s December 8 letter quotes several documents that JJHCS or TrialCard marked as Attorney’s
  Eyes Only (“AEO”) pursuant to the Protective Order, but the letter was designated as Confidential. We
  assume this was an oversight, and that SaveOnSP will treat the AEO portions of the letter as such. If this
  is not so, please inform us in writing by January 3, 2024.



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  Hannah Miles, Esq.
  December 22, 2023
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  TRIALCARD_00002804; TRIALCARD_00002931. Please explain why, in your view, abstract
  analyses unrelated to CarePath justify intrusive and voluminous discovery of Mr. Zemcik’s
  custodial files. Relatedly, we note that to the extent Mr. Zemcik’s custodial files contain relevant
  documents, they would be cumulative of those that TrialCard and JJHCS have produced from other
  agreed-upon custodians, including TrialCard custodians Fry (see, e.g., TRIALCARD_00001804,
  TRIALCARD_00001884) and Weischedel (see, e.g., JJHCS_00008107) and JJHCS custodians
  John King (see, e.g., JJHCS_00026255) and Bill Robinson (see, e.g., JJHCS_00005528).

                 Rick Ford:     SaveOnSP asserts that Mr. Ford provided
                                     . However, as SaveOnSP acknowledges,
                                 See JJHCS_00035931. Furthermore, as with Mr. Zemcik, several
  of the documents SaveOnSP cites do not even mention JJHCS or CarePath. See, e.g.,
  TRIALCARD_00001951;                 TRIALCARD_00001811;                 TRIALCARD_00001966;
  TRIALCARD_00000348;                 TRIALCARD_00001881;                 TRIALCARD_00000356;
  TRIALCARD_00000362;                 TRIALCARD_00000389;                 TRIALCARD_00006722;
  TRIALCARD_00002552; TRIALCARD_00002430. Again, please explain why, in your view,
  abstract analyses unrelated to CarePath justify intrusive and voluminous discovery of Mr. Ford’s
  custodial files—especially since, to the extent Mr. Ford’s files contain relevant documents, they
  would be cumulative of those TrialCard and JJHCS have produced from other agreed-upon
  custodians, including TrialCard custodian Fry (see, e.g., TRIALCARD_00001951,
  TRIALCARD_00001811, TRIALCARD_00000389) and JJHCS custodians Robinson and King
  (see, e.g., JJHCS_00035931).

                   April Harrison: SaveOnSP asserts that Ms. Harrison was involved in implementing
  JJHCS’s CAP Program. Yet, as SaveOnSP acknowledges,
                                                                                              See,
  e.g., TRIALCARD_00002368. To the extent Ms. Harrison performed work for JJHCS in relation
  to its CAP program, documents related to that work are in JJHCS’s possession. Additionally, to
  the extent Ms. Harrison’s custodial files contain relevant documents, they would be captured by
  other existing TrialCard custodians, including Abraham, who is in Ms. Harrison’s reporting line.
  SaveOnSP also asserts that Ms. Harrison purportedly assisted JJHCS in “efforts to modify copay
  assistance programs in responses to changes in the Best Price Rule.” Yet, SaveOnSP has not
  articulated the purported relevance of such contemplated changes to the claims and defenses in
  this litigation; please provide this explanation.

               Tommy Gooch: SaveOnSP asserts that Mr. Gooch sent and received information
  from JJHCS and attended meetings with JJHCS employees.

  See, e.g., JJHCS_00005784, JJHCS_00008104. Indeed, one document that SaveOnSP cites makes
  clear that
                     TRIALCARD_00005044. Finally, to the extent Mr. Gooch’s custodial files
  contain relevant documents, they would be cumulative of those that TrialCard and JJHCS have
  produced from other agreed-upon custodians, including JJHCS custodian Robinson (see, e.g.,
  JJHCS_00008104) and TrialCard custodians Weischedel and Esterline (see, e.g.,
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  Hannah Miles, Esq.
  December 22, 2023
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  JJHCS_00008104; TRIALCARD_00007157). In light of this additional information, if you still
  believe that cumulative discovery from Mr. Ford is necessary, please explain why.

                 Lynsi Newton: SaveOnSP asserts that Ms. Newton was responsible for TrialCard’s
  outreach regarding efforts to modify copay assistance programs in response to changes to the Best
  Price Rule. As noted above, SaveOnSP has not articulated the relevance of documents relating to
  the Best Price Rule; again, please explain the purported relevance. Further,

                                                                                                 See
  JJHCS_00004607 (including            TrialCard      custodian     Weischedel);     JJHCS_00004608;
  JJHCS_00004611. Similarly,

                                           . See TRIALCARD_00008354; TRIALCARD_00008594.
  SaveOnSP’s citation to TRIALCARD_00008594 is particularly unavailing given the references
  therein to                                                                                 . Finally, to
  the extent Ms. Newton’s custodial files contain relevant documents, they would be captured by
  other existing TrialCard custodians, including Weischedel and Abraham, to whom Ms. Newton
  reported. In light of this additional information, if you still believe that cumulative discovery from
  Ms. Newton is necessary, please explain why.

                Amber Maldonado: SaveOnSP asserts that Ms. Maldonado “played a key role in
  detecting and mitigating the alleged effects of maximizers and accumulators.” In fact, one of the
  documents SaveOnSP cites in support, JJHCS_00005061,

                                                               . Further,

                                                 See, e.g., JJHCS_00006991. Finally, to the extent
  Ms. Maldonado’s custodial files contain relevant documents, they would be cumulative of those
  that TrialCard has produced from other agreed-upon custodians, including all existing TrialCard
  custodians. See, e.g., TRIALCARD_00006499 (including all four TrialCard custodians);
  TRIALCARD_00006511 (including Weischedel and Esterline). In light of this additional
  information, if you still believe that cumulative discovery from Ms. Maldonado is necessary,
  please explain why.

                  Cosimo Cambi: SaveOnSP asserts that Mr. Cambi was the “
                     ” However, both TRIALCARD_00000334 and TRIALCARD_00002656
  indicate that
                                                                   Again, TrialCard is a vendor. Its
  understanding of the health insurance market and its opinions about its participants in the abstract
  is irrelevant to any actual work it performed implementing the CarePath program. It cannot justify
  voluminous custodial discovery of the type SaveOnSP proposes. Finally,

                              . See TRIALCARD_00003079. In light of this additional information,
  if you still believe that cumulative discovery from Mr. Cambi is necessary, please explain why.
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  Hannah Miles, Esq.
  December 22, 2023
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               We are available to meet and confer.

                                                          Very truly yours,


                                                          /s/ Sara A. Arrow
                                                          Sara A. Arrow
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     1290 Avenue of the Americas
     New York NY 10104
     212.390.9000


     Hannah R. Miles
     Associate
     212.390.9055
     hmiles@selendygay.com




     March 26, 2024



     Via E-mail

     Sara A. Arrow
     Patterson Belknap Webb & Tyler LLP
     1133 Avenue of the Americas
     New York, NY 10036
     sarrow@pbwt.com

     Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
              LLC (Case No. 2:22-cv-02632-JKS-CLW)

     Dear Sara,

            We write to you in your capacity as counsel for TrialCard. Upon review of
     the 19,930 case and task notes that TrialCard produced, we have identified 1,528
     for which we would like TrialCard to produce the associated audio recording
     and/or transcript. See May 12, 2023 Ltr. from G. Carotenuto to A. Dunlap, at 2.
     Those calls are identified in the attached spreadsheet.

           Please let us know by April 1, 2024 when you will be able to make this pro-
     duction.

     Sincerely,

     Hannah Miles

     Hannah R. Miles
     Associate
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  April 23, 2024                                                                         Elisabeth Shane
                                                                                         (212) 336-2659


  By Email

  Hannah Miles, Esq.
  Selendy Gay PLLC
  1290 Avenue of the Americas
  New York, NY 10104

                    Re:      TrialCard Call Recordings
                             Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                             Case No. 2:22-cv-02632 (JKS) (CLW)

  Dear Hannah:

                We understand that you have sent TrialCard a letter dated March 26, 2024 seeking
  the audio recordings and transcripts associated with 1,528 case and task notes produced by
  TrialCard. We write in our capacity as counsel for JJHCS to address related issues.

                   Based on our understanding of your request to TrialCard, it appears that SaveOnSP
  is seeking the recordings and transcripts associated with case and task notes produced by TrialCard
  that hit on the term SaveOnSP or any variation thereof.

                 As you will recall, SaveOnSP agreed to produce “recordings of communications
  with persons enrolled in health plans advised by SaveOnSP concerning SaveOnSP’s services and
  either CarePath or Janssen Drugs, identified during a reasonable search, that are reasonably
  accessible.” See SaveOnSP’s Response to JJHCS’s RFP No. 54. These recordings are the
  conceptual equivalent of what SaveOnSP now seeks from TrialCard—namely, communications
  with persons likely enrolled in CarePath relating to SaveOnSP. Yet, notwithstanding SaveOnSP’s
  prior agreement to produce them, SaveOnSP later refused to do so. See Mar. 29, 2023 Ltr. from
  A. Dunlap to H. Sandick, at 4.

                 In light of SaveOnSP’s March 26 demand for recordings, SaveOnSP’s refusal to
  produce its own relevant recordings is untenable. Accordingly, please confirm that SaveOnSP will
  produce the recorded calls it has identified with patients who spoke to SaveOnSP and were
  prescribed a Janssen drug.




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  Hannah Miles, Esq.
  April 23, 2024
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                                                Very truly yours,


                                                /s/ Elisabeth Shane
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  May 7, 2024                                                                            Elisabeth Shane
                                                                                         (212) 336-2659


  By Email

  Hannah Miles, Esq.
  Selendy Gay PLLC
  1290 Avenue of the Americas
  New York, NY 10104

                    Re:      SaveOnSP’s Call Recordings
                             Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                             Case No. 2:22-cv-02632 (JKS) (CLW)

  Dear Hannah:

               We write in response to your April 26, 2024 letter and further to our prior
  correspondence regarding the same.

                   As you know, JJHCS recently requested that SaveOnSP produce recorded calls and
  transcripts with patients who spoke to SaveOnSP and were prescribed a Janssen drug. See Apr.
  23, 2024 Ltr. from E. Shane to H. Miles. We understand that, although SaveOnSP seeks the
  equivalent production from TrialCard (namely, communications with persons likely enrolled in
  CarePath relating to SaveOnSP), it objects to JJHCS’s request on the basis of the purported burden.
  In light of this objection, please specify, in as much detail as possible, the burden associated with
  producing the call recordings and transcripts that JJCHS requested in its April 23 letter. Please
  also explain what steps SaveOnSP has taken over the last thirteen months to “investigate ways to
  expedite the export” of responsive call recordings and transcripts, including any strategies it has
  identified to do so. Mar. 29, 2023 Ltr. from A. Dunlap to H. Sandick at 4. We appreciate that
  there can be burdens associated with producing call records on both sides and would like to work
  with you to find a mutually acceptable solution.

                  To facilitate our discussion, please also let us know if SaveOnSP’s burden concerns
  would be alleviated if its production were limited to the following two categories. First, all call
  recordings and transcripts associated with calls to TrialCard with or without a patient on the line
  regarding a Janssen drug. For the avoidance of doubt, this includes, but is not limited to, recordings
  and transcripts of all calls designated as “manufacturer calls” within Column P of the attached
  “JJHCS Requested Recordings” spreadsheet. Second, to the extent these recordings and transcripts
  are not captured by the prior request, all recordings and transcripts associated with the calls
  identified in the attached spreadsheet.



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  Hannah Miles, Esq.
  May 7, 2024
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               We look forward to hearing from you and discussing these matters further.

                                                       Very truly yours,


                                                       /s/ Elisabeth Shane
                                                       Elisabeth Shane




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  September 29, 2023                                                                     Katherine Brisson
                                                                                         (212) 336-2552




  BY EMAIL

  Emma Holland, Esq.
  Selendy Gay Elsberg PLLC
  1290 Avenue of the Americas
  New York, NY 10104

                    Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                             (Case No. 2:22-cv-02632-ES-CLW)

  Dear Emma:

                  We write on behalf of TrialCard in response to your September 20, 2023 letter, and
  further to our correspondence on the same topic.

                  Request Nos. 5, 20, 22, and 27. TrialCard will produce documents that are
  responsive to Request Nos. 5, 20, 22, and 27 and that hit on the search terms identified in our
  August 24 letter. See Aug. 24, 2023 Ltr. from K. Brisson to E. Holland at 2, n.1. These search
  terms were designed to yield documents responsive to these specific Requests. TrialCard will
  produce responsive, non-privileged documents that hit on these search terms whether or not they
  relate to benefits investigations; however, we otherwise decline to specifically search for, collect,
  and produce documents relating to benefits investigations.

                  Request No. 3. TrialCard agrees to produce case and task notes that are responsive
  to SaveOnSP’s proposed search terms “zero out of pocket,” “zero OOP,” and “zero out-of-pocket.”
  We trust that this resolves any remaining dispute on this issue.

                  Custodians. As we have explained at length, the four existing TrialCard
  custodians—Sini Abraham, Paul Esterline, Rick Fry, and Holly Weischedel—had operational and
  strategic responsibilities for the issues about which you have sought document production. During
  the relevant time period, Ms. Weischedel held multiple roles at TrialCard, including positions in
  Client Services and Strategic Accounts. Ms. Abraham has similarly held roles in Client Services,
  Market Access Operations, and Hub Services. Mr. Esterline has held various roles in Analytics
  and Strategic Accounts. And Mr. Fry has held roles in both Client Solutions and Client Services.
  Again, we encourage you to review the documents TrialCard produces from these four custodians
  to make an informed assessment about whether additional custodians are warranted.



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                You nevertheless assert that additional custodians are required because the existing
  custodians “do not appear to be involved in communications with CarePath patients or tracking
  CarePath and copay assistance payments.” Sept. 20, 2023 Ltr. from E. Holland to K. Brisson at 2.
  This concern does not justify your expansive request. As you know, TrialCard has already
  produced over 19,000 call and task notes describing communications with CarePath patients, and
  we have agreed to supplement that production as described above. We have similarly produced
  CarePath claims and enrollment data. These productions, along with the custodial productions
  described above, adequately address the issues you have raised.

                   Further, we decline to provide hit counts for each of the twelve additional
  custodians you have proposed. As you know, TrialCard cannot simply run a hit report without
  first collecting the custodial files of all of SaveOnSP’s proposed custodians. This step is itself a
  burdensome and unnecessary undertaking for the reasons we have explained at length in our prior
  correspondence and herein. You also suggest that there is some “magical” number of documents—
  which you apparently believe to be greater than 37,000—that a third-party must review to satisfy
  its discovery obligations. Suffice it to say, we disagree (as do your business partners at Express
  Scripts, Inc. and Accredo Health Group, which have yet to make any custodial productions, aided
  in their efforts to avoid discovery by supporting affidavits from SaveOnSP counsel). Finally, we
  refer you to our prior correspondence on the issue of fees and costs.

                   Custodial Search Terms. TrialCard declines to add your proposed search terms as
  they are irrelevant to the requests for which TrialCard has agreed to produce custodial documents.
  As we have explained, TrialCard will not produce documents that generally relate to copay
  accumulator and maximizer programs, nor will it produce documents that mention Express Scripts
  or Accredo absent reference to SaveOnSP. See July 13, 2023 Ltr. from K. Brisson to E. Holland
  at 1 (“TrialCard agrees to search for and produce nonprivileged custodial documents expressly
  referencing SaveOnSP in response to Request Nos. 8, 9, 11, 12, 13, 14, and 15.”). Contrary to
  your assertion, TrialCard’s discovery obligations do not require it to undertake a large-scale
  substantive document review to determine whether a document “capture[s] discussions of
  SaveOnSP when it is not expressly mentioned.” Sept. 20, 2023 Ltr. from E. Holland to K. Brisson
  at 2. First of all, we do not see how this suggestion is even feasible, as it would require an exercise
  in mind-reading to know when someone is secretly referring to SaveOnSP. In any event, this
  proposal is disproportionate to TrialCard’s obligations as a third-party, and TrialCard will not
  undertake to do so.

                  As previously explained, we have produced all retention documents we have been
  able to identify based on a reasonable investigation for the applicable timeframe. We have added
  “retention policy” out of a good faith effort to satisfy any lingering concerns you may have but
  we are unwilling to adopt your proposed stand-alone “Retention Polic*” search term.

                 Finally, Request Nos. 18(i)-(m), which seek such information as the dates on which
  Patients were enrolled in CarePath, the amounts of co-pay assistance provided to those Patients,
  and the Janssen Drugs for which they received assistance, do not require a custodial production.
  These documents are centrally stored and those documents have been or will be produced, either
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  by TrialCard, JJHCS, or both. As we have stated previously, to the extent the custodial files of
  Abraham, Esterline, Fry, and Weischedel include non-privileged documents responsive to Request
  Nos. 18(i)-(m), we will produce them. See July 13, 2023 Ltr. from K. Brisson to E. Holland at 1.
  We decline, however, to add new custodians or run additional search terms specific to this Request.

                                                           Very truly yours,




                                                           /s/ Katherine Brisson
                                                           Katherine Brisson
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  January 12, 2024                                                                       Sara A. Arrow
                                                                                         (212) 336-2031


  By Email

  Elizabeth Snow, Esq.
  Selendy Gay Elsberg PLLC
  1290 Avenue of the Americas
  New York, NY 10104

                    Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                             Case No. 2:22-cv-02632 (JKS) (CLW)

  Dear Elizabeth:

                On behalf of TrialCard, we write in response to your December 27, 2023 letter
  concerning the February 17, 2023 subpoena (the “Subpoena”) served on TrialCard and our related
  email correspondence.

                  Suffice it to say, we disagree with the statements in your December 27 letter,
  including for the reasons we have explained at length in discovery letters and during the conferral
  process. See, e.g., Dec. 6, 2022 Ltr. from S. Arrow to H. Miles; Dec. 22, 2023 Ltr. from S. Arrow
  to E. Snow. As we have explained, SaveOnSP’s request to the extend the scope of the Subpoena
  at least nine months beyond the service date is improper and contrary to the Federal Rules of Civil
  Procedure.

                  In the interest of finality, we write to confirm that we are at impasse with respect to
  the applicable time period for the Subpoena. TrialCard does not consent to submit this dispute to
  Judge Wolfson.

                    TrialCard reserves all rights.

                                                                      Very truly yours,




                                                                      /s/ Sara A. Arrow
                                                                      Sara A. Arrow




  Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000   F 212.336.2222

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     1290 Avenue of the Americas
     New York NY 10104
     212.390.9000


     Emma Holland
     Associate
     212 390 9364
     eholland@selendygay.com




     July 26, 2023



     Via E-mail

     Katherine Brisson
     Patterson Belknap Webb & Tyler LLP
     1133 Avenue of the Americas
     New York, NY 10036
     kbrisson@pbwt.com

     Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
              LLC (Case No. 2:22-cv-02632-ES-CLW)

     Dear Katherine,

            We write in response to your July 13, 2023 and July 19, 2023 letter regard-
     ing TrialCard, Inc.’s (“TrialCard”) response to the subpoena served by Save On SP,
     LLC (“SaveOnSP”) and in further response to your June 7, 2023 letter on that sub-
     ject.

             First, in your July 13 letter, you state that TrialCard agrees to produce doc-
     uments from non-custodial sources in response to Request No. 3, but, to the extent
     custodial files include non-privileged documents responsive to those requests, you
     will produce them. This is not sufficient. Request No. 3 seeks documents and com-
     munications “with or regarding SaveOnSP, including those between You and
     JJHCS, You and any patients, and You and any other Hub Entity.” A reasonable
     search for documents responsive to this Request must include a search of custodial
     files that are likely to contain such communications. Please confirm that TrialCard
     will add custodians likely to have documents responsive to this Request and will
     produce such documents. Also in your June 7 letter, regarding Request No. 3, you
     decline to add the search terms “OOP” and “out-of-pocket.” We propose that Trial-
     Card instead use the terms “zero out-of-pocket,” which is mentioned frequently in
     sample patient letters regarding SaveOnSP, see, e.g., TRIALCARD_00000119, and
     the similar terms “zero OOP”, “no OOP”, and “no out-of-pocket.” Please confirm
     that TrialCard will add these four search terms.

          Second, in your June 7 letter, you stated that TrialCard did not have any
     documents responsive to Request Nos. 5, 6, 7, 8, 10–17, 20–22, 24–25, 29, and 32
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     beyond those that it had agreed to produce at that point. In your July 13 letter, you
     state that TrialCard will now perform a custodial search for documents responsive
     to Request Nos. 8-9 and 11-15, which includes six of those Requests. Please tell us
     if TrialCard will produce documents responsive to Request Nos. 5, 6, 7, 16–17, 20–
     22, 24–25, 29, and 32 beyond those that it has already agreed to produce.

            Third, in your June 7, 2023 letter, you stated that TrialCard would not pro-
     duce documents responsive to Request Nos. 13-15, 17, 20, and 22, stating that
     “TrialCard would have furnished any such deliverables to JJHCS, which in turn
     would be captured by JJHCS’s document production” and documents “not fur-
     nished to JJHCS” are irrelevant. In your July 13 letter, you state that TrialCard will
     now perform a custodial search for documents responsive to Request Nos. 8-9 and
     11-15, which includes three of those Requests. Please tell us if TrialCard will pro-
     duce documents responsive to Request Nos. 17, 20, and 22.

            Regarding Request No. 22 specifically, which seeks all Documents and
     Communications regarding JJHCS’s attempts to identify health plans advised by
     SaveOnSP or Patients enrolled in such plans, JJHCS recently disclosed that Trial-
     Card has responsive material. JJHCS has stated in its Responses and Objections
     to SaveOnSP’s Second Set of Interrogatories, that


                                                                   See JJHCS’s R&Os to
     SaveOnSP’s Second Set of Interrogatories at 4. Those
                                                                            are respon-
     sive to this request and relevant to the claim and defenses at issue. Please tell us
     whether TrialCard will produce them.

            Fourth, you state that TrialCard will perform a custodial search for docu-
     ments responsive to Request Nos. 8, 9, and 11-15 but only those that expressly ref-
     erence SaveOnSP. This is insufficient, as documents regarding SaveOnSP may well
     not reference SaveOnSP expressly. For example, TrialCard should produce docu-
     ments referring to maximizers and Express Scripts,
                        . See, e.g., JJHCS_00081459 (JJHCS email saying that

                                                                                         ),
     JJHCS_00081461 (report attached to JJHCS_00081459 stating that

                                                   ), JJHCS_00008991 (JJHCS email
     referring to                                                  ). Please confirm
     that TrialCard will search for documents relating to SaveOnSP beyond those ex-
     pressly referencing SaveOnSP.

            Fifth, in your July 19, 2023 letter you propose a handful of search terms that
     TrialCard intends to use for its custodial search. You propose the term SaveOnSP
     OR SaveOn OR “Save On SP” OR “Save On” OR SOSP as an independent search
     but use (SaveOnSP OR SaveOn OR “Save On SP” OR “Save On” OR SOSP OR “org*


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     chart” OR “retention policy”) to limit all three other proposed searches. In effect,
     you propose only SaveOnSP OR SaveOn OR “Save On SP” OR “Save On” OR SOSP
     as a search term, plus a few searches for “org* chart” OR “retention policy.” In
     searching for documents responsive to Request Nos. 8, 9, and 11-15, TrialCard
     should search for documents referring to SaveOnSP, without expressly naming it.
     We request that TrialCard supplement its list of proposed search terms with the
     terms on Appendix A. If JJHCS refuses to use any of these terms, please explain
     why. If JJHCS asserts that using any of these terms would be unduly burdensome,
     please provide a hit count of how many unique documents the proposed term gen-
     erates.

             Sixth, in your July 13, 2023 letter, you state that TrialCard does not intend
     to produce any documents that are also in the possession of JJHCS. This is insuf-
     ficient. A non-party may not withhold documents simply because it shared those
     documents with a party to the litigation. See Wyeth v. Abbott Lab’ys, No. 08-230
     (JAP), 2011 WL 2429318, at *8 (D.N.J. June 13, 2011). You also do not confirm
     that JJHCS has produced all relevant documents that are in the possession of both
     JJHCS and Trial Card. Please confirm that TrialCard will not withhold responsive
     documents on the basis that it believes that they are in JJHCS’s possession.

            Seventh, in your July 13, 2023 letter, you propose that Trial Card designate
     only Holly Weischedel and Sini Abraham as custodians. We propose that TrialCard
     also add the following individuals as custodians, as JJHCS’s production shows that
     they have relevant documents. Please confirm that TrialCard will add:

              •    Richard (“Rick”) Ford. Ford is the Vice President of Market Access
                   at TrialCard and
                                                        . See, e.g., JJHCS_00011226
                   (
                                                        ). Ford also explained to other
                   TrialCard vice presidents how

                          Id., JJHCS_00003009.

              •    Jason Zemcik. Zemcik is the Senior Director of Product Management,
                   JJHCS_00001595, and


                                  See JJHCS_00003059.
                                                                 See JJHCS_00026255.




              •    Rick Fry.



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              •    Jimmar Wilson.          Wilson     is   a   Training   Manager.     See
                   JJHCS_00058358.




              •    Dorothy Williams. Williams is a Trainer whose work includes Care-
                   Path training. See JJHCS_00126193.




              •    Amber Maldonaldo. Based on email communications Maldonaldo
                   sent to other TrialCard employees and to employees at JJHCS,

                                                                  JJHCS_00006991,
                   JJHCS_00005061. Maldonaldo both sent and received information that
                   is directly relevant to JJHCS’s response to SaveOnSP.
                   JJHCS_00006991, JJHCS_00005543.

              •    April Harrison. April Harrison is an Associate Director of Client Ser-
                   vices at TrialCard, JJHCS_00104674, and as such,

                                                                                 See, e.g.,
                   JJHCS_00008733, JJHCS_00008584. Harrison has been


                         See JJHCS_00002344.



              •    Tony McInnis. As the Escalation Manager, McInnis


                           . See JJHCS_00002774. These patient communications would
                   very likely include patient complaints, to the extent there are any, re-
                   garding stress, confusion or other harm. McInnis has received emails
                   that                                          . See JJHCS_0005543.

              •    Tommy Gooch. As TrialCard’s Implementation Project Manager,
                   JJHCS_00001885,

                            See, e.g., JJHCS_00005784, JJHCS_00008104. Gooch also
                   communicated with JJHCS and TrialCard employees regarding


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                                                                                    See
                   JJHCS_00008050, JJHCS_00004076.

              •    Paul Esterline. Esterline received inquiries from JJHCS employees re-
                   garding

                   JJHCS_00007521. Esterline also

                   JJHCS_00008104, and another email and discussion regarding
                                , JJHCS_00005543.

              •     Lynsi Newton. Newton
                                                                              . TRIAL-
                   CARD_00000201.



                                                              See    JJHCS_00004607,
                   JJHCS_00004608, JJHCS_00004611.

              •    Kimberly Spencer. Spencer

                                                    TRIALCARD_00000201.



                                                                               ,
                   JJHCS_00122619, and thus may have information regarding Save-
                   OnSP’s alleged financial harm to JJHCS.

              •    JeLisa Irving. Irving
                                                                                       .
                   TRIALCARD_00000201. Irving is


                   JJHCS_00126221.



              •    Philip Sloate. Sloate
                                                                               . TRIAL-
                   CARD_00000201.



              •    Samone Evans. Evans



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                   TRIALCARD_00000201.


                                                                              see,
                   JJHCS_00104997, JJHCS_00105016, so she is likely to have infor-
                   mation on any complaints about SaveOnSP.

              •    Mariel Chahin. Chahin is an Associate Program Director at TrialCard.
                   JJHCS_00004713. Chahin communicated with JJHCS employees re-
                   lated to

                                                                  Id. Chahin was also in-
                   volved in
                            JJHCS_00073983, JJHCS_00082761. Chahin’s records will
                   likely include any comments by patients regarding SaveOnSP or Save-
                   OnSP’s alleged harm to JJHCS.

            Eighth, in your June 7, 2023 letter, you state that TrialCard produced its
     only company-wide document retention policy, which was published in 2023.
     Please either produce retention policy was operative from April 1, 2016 to July 1,
     2022 or state that TrialCard had no such policies prior to 2023.

            Ninth, the organizational chart that TrialCard provided at TRIAL-
     CARD_00000200, is illegible as produced. Please reproduce this document in a
     legible form.

           Finally, please confirm that you will produce data dictionaries for data you
     produce in response to Request No. 31.

            We request a response by August 2, 2023. We reserve all rights and are
     available to meet and confer.

     Best,

     /s/ Emma Holland

     Emma C. Holland
     Associate




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      July 26, 2023



                                        Appendix A

No.       JJHSC’s Proposed           New Search Term                      Basis
            Search Terms 1

1      SaveOnSP OR SaveOn          SaveOnSP OR SaveOn        As explained above, TrialCard
       OR “Save On SP” OR          OR “Save On SP” OR        should produce documents
       “Save On” OR SOSP           “Save On” OR SOSP OR      referring to SaveOnSP without
                                   "Save OnSP" OR Maxim-     referencing it explicitly.
                                   ize* OR (“Express
                                   Scripts” OR ESI) OR Ac-
                                   credo OR CAP*

2      (“Johnson & Johnson”        (“Johnson & Johnson”      Note for all of these searches,
       OR “Johnson and John-       OR “Johnson and John-     the only documents that will
       son” OR J&J OR JnJ OR       son” OR J&J OR JnJ OR     not be captured by the first
       JJHCS                       JJHCS                     search term is documents with
       OR Janssen) AND             OR Janssen) AND (Save-    the terms “org* chart” OR
       (SaveOnSP OR SaveOn         OnSP OR SaveOn OR         “retention policy” which will
       OR “Save On SP” OR          “Save On SP” OR “Save     return documents responsive to
       “Save On”                   On”                       Request Nos. 1, 2, and 30.
       OR SOSP OR “org*            OR SOSP OR “org* chart”   However, in your July 13 letter,
       chart” OR “retention pol-   OR “retention policy”)    you state that TrialCard agreed
       icy”)                                                 to produce documents from
                                                             non-custodial sources in
                                                             response to Request Nos. 1, 2, 3,
3      (CarePath OR “Care          (CarePath OR “Care        18(i)-(m), and 30, but would
       Path”) AND (SaveOnSP        Path”) AND (SaveOnSP      not directly search custodial
       OR SaveOn OR “Save On       OR SaveOn OR “Save On     records for responsive
       SP”                         SP”                       documents.
       OR “Save On” OR SOSP        OR “Save On” OR SOSP
       OR “org* chart” OR “re-     OR “org* chart” OR “re-
       tention policy”)            tention policy”)

4      (Accumulator OR Maxi-       (Accumulator OR Maxi-
       mizer) AND (SaveOnSP        mizer) AND (SaveOnSP
       OR SaveOn OR “Save On       OR SaveOn OR “Save On
       SP”                         SP”
       OR “Save On” OR SOSP        OR “Save On” OR SOSP
       OR “org* chart” OR “re-     OR “org* chart” OR “re-
       tention policy”)            tention policy”)



      1 All proposed search terms cover the period of April 1, 2016 to July 1, 2022

      (the “Relevant Time Period”). Please tell us if you do not agree to search all
      documents during this time period.

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      Katherine Brisson
      July 26, 2023



No.       JJHSC’s Proposed      New Search Term                     Basis
            Search Terms 1

5                             “Retention Polic*”       To the extent TrialCard intends
                                                       to search custodial documents
                                                       for retention policies published
                                                       prior to 2023 we do not believe
                                                       that limiting your search to po-
                                                       lices that mention Johnson &
                                                       Johnson, JJHCS, CarePath, Ac-
                                                       cumulators, or Maximizers will
                                                       return retention policies appli-
                                                       cable to all of TrialCard.




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  January 26, 2024                                                                       Caroline Zielinski
                                                                                         (212) 336-2206


  By Email

  Taylor Stone, Esq.
  Selendy Gay Elsberg PLLC
  1290 Avenue of the Americas
  New York, NY 10104

                    Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                             Case No. 2:22-cv-02632 (JKS) (CLW)

  Dear Taylor,

                 We write in response to your January 2, 2024 letter concerning JJHCS’s privilege
  log and further to related correspondence.1

                  After reviewing the documents that you identified in your letter, we no longer seek
  to fully withhold or maintain all of the redactions in the documents listed in Appendix A to this
  letter. Accordingly, JJHCS will produce these documents either in full or with more limited
  redactions in a forthcoming production.

                 With respect to the documents you identified that are not listed in Appendix A, we
  disagree with the assertions raised in your letter. These documents were properly withheld
  pursuant to applicable privileges, including the attorney-client and/or the work product privileges.
  To address your contentions, JJHCS provides additional information about those documents
  below.

                 Exhibit 1 Documents. SaveOnSP first asserts that approximately 160 documents
  on Exhibit 1 were improperly withheld based on attorney-client privilege “without indicating that
  they involve communications with counsel.” Contrary to SaveOnSP’s assertion, JJHCS’s
  privilege log indicates that an attorney was the author or recipient of multiple of the identified
  documents in this category. See PL000002020 (email in which S. Harris is the author);
  PL000002021 (email in which S. Harris is the recipient); and PL000001630 (email in which
  C. Bosch is copied). In addition, Exhibit 1 includes draft documents properly withheld pursuant


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    We have separately addressed SaveOnSP’s request for an updated privilege log and a log of all partially
  redacted documents. See Jan. 11, 2024 Ltr. from J. Long to E. Snow.



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  to the attorney-client privilege because they include comments from JJHCS’s in-house attorneys
  reflecting legal advice related to the operation of JJHCS’s copay assistance programs, including
  training modules, work orders, and terms and conditions. See, e.g., PL000000049 (comments from
  J. De Camara), PL000002012 (comments from C. Bosch); PL000002762 (comments from M.
  Shea). Assertion of the attorney-client privilege in this circumstance is based on well-established
  law. See, e.g., In re Johnson & Johnson Talcum Powder Prods. Mtking, Sales Practices, & Prods.
  Liability Litig., 2021 WL 3144945, at *6 (D.N.J. July 26, 2021) (sustaining attorney-client
  privilege assertions with respect to “draft documents containing [an in-house attorney’s]
  comments” as they “reflect [their] legal input and analysis”).

                  Moreover, whether an attorney is listed as an author or recipient of a document does
  not determine whether a document is properly withheld pursuant to the attorney-client privilege.
  The attorney-client privilege extends to communications comprising a discussion of legal analysis
  regardless of whether an attorney is included on the communication. See, e.g., Engage Health
  Comms., LLC v. Intellisphere, LLC, 2017 WL 10259770, at *3 (D.N.J. Sept. 12, 2017), report &
  recommendation adopted 2017 WL 10259774 (Nov. 21, 2017) (explaining that a document comes
  within the attorney-client privilege even if it reflects a “communication between two non-
  attorneys” as long as it “reflect[s] the [provision of] legal advice”). JJHCS has properly withheld
  documents included in Exhibit 1 that reflect legal analysis and incorporate requests for legal advice
  pertaining to the design and implementation of JJHCS’s copay assistance programs. See, e.g.,
  PL000000256; PL000000226; PL000000244; PL000000246; PL000000227. See also In re
  Johnson & Johnson, 2021 WL 3144945, at *10 (explaining that the “absence of an attorney on a
  document is not necessarily determinative” as “[c]ommunications remain privileged if they assist
  [an] attorney to formulate and render legal advice” (internal quotation marks and citation
  omitted)).

                 Exhibit 2 Documents. SaveOnSP next argues that JJHCS improperly withheld
  information in approximately 90 documents on Exhibit 2, because the documents “do not appear
  privileged based on their descriptions.” SaveOnSP provides no legal authority for its suggestion
  that the provision of legal advice must be apparent from the document’s description. To the
  contrary, the privilege determination depends on an assessment of whether the underlying
  document includes disclosures “necessary to obtain informed legal advice.” In re Riddell
  Concussion Reduction Litig., 2016 WL 7108455, at *4 (D.N.J. Dec. 5, 2016), on reconsideration
  in part, 2017 WL 11633446 (D.N.J. Jan. 5, 2017) (quoting Westinghouse Elec. Corp. v. Republic
  of the Philippines, 951 F.2d 1414, 1423-24 (3d Cir. 1991)). As with Exhibit 1, many of the
  documents on Exhibit 2 were properly withheld because they convey legal advice from JJHCS’s
  in-house attorneys, see, e.g., PL000001075 (reflecting legal advice from J. Williams on draft
  presentation); PL000000424 (conveying legal advice from J. De Camara); PL000000097
  (reflecting J. De Camara’s legal advice), or reflect requests for legal advice, see, e.g.,
  PL000000097 (identifying areas for which legal advice was required); PL000000427 (same);
  PL000000414 (same). In addition, as JJHCS’s privilege log indicates, PL000002242 was properly
  withheld pursuant to the attorney-client and work product privileges as it reflects an attorney-client
  communication relating to litigation strategy.



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                  Exhibit 3 Documents. SaveOnSP contests that JJHCS improperly withheld
  approximately 130 “calendar invites” included in Exhibit 3. Although neither the attorney-client
  nor the work product privilege applies to “the facts underlying any given communication,” a
  “communication concerning that fact is entirely different.” La. Mun. Police Employees Retirement
  Sys. v. Sealed Air Corp., 253 F.R.D. 300, 305 (D.N.J. 2008); In re Johnson & Johnson, 2021 WL
  3144945, at *4. Email communications accompanying the calendar invitations at issue in Exhibit
  3 were properly withheld when they reflect discussions with JJHCS’s legal team regarding
  strategies for this litigation. See PL000001253 (email communication with S. Harris regarding
  strategy for current litigation); PL000001257 (same); PL000002117 (email from S. Harris
  explaining purpose of meeting tied to litigation strategy); PL000001913 (same); PL000001919
  (same); PL000001920 (same). Likewise, information underlying requests for legal advice, to be
  discussed at upcoming meetings with counsel, was also properly withheld. See, e.g., PL000000398
  (email reflecting areas for legal input for discussion at meeting with in-house counsel);
  PL000001217 (email explaining topics for discussion at upcoming meeting with S. Harris);
  PL000000820 (same); PL000000821 (same); PL000001938 (email explaining purpose of call
  regarding legal questions for S. Harris). That said, after further review, JJHCS will be producing
  certain calendar invitations previously withheld in redacted form.

                 Exhibit 4 Documents. SaveOnSP identifies approximately 60 documents on
  Exhibit 4 that it contends were improperly withheld pursuant to the work product privilege. As
  indicated in JJHCS’s privilege log, however, Exhibit 4 includes documents prepared in
  anticipation of JJHCS’s litigation against SaveOnSP. See, e.g., PL000001086 (Oct. 2021 email
  communication with S. Harris discussing litigation strategy); PL000001108 (same); PL000001088
  (October 2021 email communication between S. Harris and outside counsel discussing litigation
  strategy). Furthermore, contrary to SaveOnSP’s description that Exhibit 4 “contains a list of
  documents withheld solely on the basis of the work product privilege,” JJHCS’s privilege log
  indicates that many documents included in Exhibit 4 were also withheld based on application of
  the attorney-client privilege. These documents include communications with JJHCS’s counsel
  that reflect requests for legal advice or convey counsel’s legal analysis regarding the
  implementation of JJHCS’s patient assistance programs. See, e.g., PL000000224 (email with J.
  De Camara requesting legal advice); PL000001045 (email with J. De Camara reflecting legal
  analysis).

                 Exhibit 5 Documents. SaveOnSP argues that JJHCS has improperly withheld or
  redacted approximately 240 documents on Exhibit 5 because the attorney-client privilege was
  waived through disclosure of these documents to third parties. As an initial matter, Exhibit 5
  contains many emails in which no third parties are included on the latest-in-time communications.
  In those instances, JJHCS employees have forwarded a communication with a third party to
  JJHCS’s in-house counsel to request their legal analysis. See, e.g., PL000001869 (email
  communication with third party forwarded to S. Harris requesting legal analysis); PL000001854
  (same). These documents were properly withheld, as the attorney-client privilege extends to
  emails which “forward[] [to counsel] prior non-privileged emails” that underlie the request for
  legal advice and assist the attorney in providing their analysis. Engage Health, 2017 WL
  10259770, at *3 (“[E]ven though one email is not privileged, a subsequent and privileged email


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  which forwards that prior non-privileged email, will allow the privilege to attach to the entire email
  chain, including the non-privileged prior email messages.” (quoting Rhoads Indus. Inc. v. Building
  Materials Corp. of Am., 254 F.R.D. 238, 240 (E.D. Pa. 2008)).

                  With respect to documents shared with third parties, the attorney-client privilege is
  maintained when an independent consultant acts as the “functional equivalent” of the party’s
  employee and the communication with the third party was “kept confidential and made for the
  purpose of obtaining or providing legal advice.” In re Johnson & Johnson, 2021 WL 3144945, at
  *9 (citing In re Flonase Antitrust Litig., 879 F. Supp. 2d 454, 460 (E.D. Pa. 2012)); see id.
  (explaining that communications between Johnson & Johnson and its consultants, “even in the
  absence of an attorney . . . may be privileged if they are necessary for the client to obtain[] informed
  legal advice”); In re Riddell Concussion Reduction Litig., 2016 WL 7108455, at *6, *8 (applying
  functional equivalent doctrine to documents between party and public relations and
  communications consultants).

                  This legal principle recognizes that “in-house counsel should be able to
  communicate freely with consultants about legal issues without being chilled by the prospect that
  their communications will be produced to an adversary in discovery.” In re Johnson & Johnson,
  2021 WL 3144945, at *9. Documents listed in Exhibit 5 were appropriately withheld pursuant to
  this standard because they include confidential communications between JJHCS and third parties
  relating to information requested by or provided to JJHCS’s attorneys to assist in their analysis of
  legal issues. See, e.g., PL000002658 (email in which third party provides information requested
  by JJHCS’s counsel to assist in the provision of legal advice); PL000002370 (same);
  PL000002292 (email in which JJHCS’s counsel requests information necessary to provision of
  legal advice); see also In re Riddell Concussion Reduction Litig., 2016 WL 7108455, at *9 (holding
  that information provided by third party “needed by [party’s] attorneys to render legal advice” is
  privileged). Exhibit 5 also includes documents protected by the attorney-client privilege because
  they convey the legal analysis of JJHCS’s attorneys. See, e.g., PL000001908 (email conveying
  legal advice); PL000001750 (draft document reflecting legal advice); PL000001751 (same). See
  also In re Riddell Concussion Reduction Litig., 2016 WL 7108455, at *10 (finding documents
  shared with third party were privileged where the “documents indicate[d] actual legal advice was
  conveyed” including an “email asking for legal insight” or an “email referring to attorney advice”);
  In re Johnson & Johnson, 2021 WL 3144945, at *7 (finding documents shared with third party
  privileged where they were reviewed by counsel “with a view towards legal issues”).

                                             *       *       *

                 Finally, based on our review of SaveOnSP’s revised privilege log dated October
  10, 2023, we have identified several areas of concern, where it appears that SaveOnSP has
  inappropriately redacted or withheld certain documents that should have been produced. For
  example, the following documents appear on SaveOnSP’s privilege log:

             •   Emails that were sent to or from third parties. See, e.g., SOSP_0817331 (an
                 email fully withheld for privilege from an individual with a “RideMetro.Org”


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                 domain to Claudia Dunbar, Ron Krawczyk, Jill Stearns, and two individuals at
                 Express Scripts Inc. (“ESI”)); SOSP_0827911 (an email redacted for privilege
                 including Michael Kirchhoff with an ESI domain); SOSP_0828613 (an email
                 redacted for privilege including Aaron Mallin with an ESI domain);

             •   Inconsistent privilege calls. See SOSP_0832627, which is an attachment titled
                 “JnJ letter page 2.pdf.” This document was withheld as privileged even though
                 “page 1” of this same attachment was produced; and

                We have identified similar issues for the following documents that have not yet
  been logged on SaveOnSP’s privilege log:

             •   SOSP_0940021, which is a spreadsheet reflecting notes on SaveOnSP calls with
                 external parties, including Allina Health System, International Association of Heat
                 and Frost Insulators Local 17 Welfare Fund, SKC, Inc., AmerisourceBergen
                 Corporation, and HealthSmart; and

             •   SOSP_1034728, which is text message exchange involving no lawyers that was
                 sent to and from a third party.

               Please explain by February 2, 2024 why you have withheld or redacted the specific
  documents identified above. In the event you no longer wish to assert privilege over any of the
  documents identified herein, please promptly produce them.

                  Finally, in response to your SaveOnSP’s January 25, 2024 letter, we can confirm
  that JJHCS has included, and will continue to include, all thread participants on emails included
  on its privilege logs. Thank you for confirming that SaveOnSP will correct its privilege log to
  address this issue and to adopt this practice moving forward. See Jan. 25, 2024 Ltr. from E. Snow
  to J. Long. Please confirm that you will provide the corrected version of your privilege log by
  February 13, 2024.


                                                          Very truly yours,


                                                          /s/Caroline Zielinski
                                                          Caroline Zielinski




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